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                                   No. 23-1135

                                     IN THE
   United States Court of Appeals for the Tenth Circuit
                           ________________
                   DARLENE GRIFFITH, Plaintiff/Appellant,
                                  v.

EL PASO COUNTY, COLORADO; BILL ELDER, individually and in his official
 capacity as Sheriff of the El Paso County Sheriff’s Office; CY GILLESPIE, in his
     individual capacity; ELIZABETH O’NEAL, in her individual capacity,
  ANDREW MUSTAPICK, in his individual capacity; DAWNE ELLISS, in her
individual capacity; TIFFANY NOE, in her individual capacity; BRANDE FORD,
                 in her individual capacity, Defendants/Appellees.
                                 ________________
                               On Appeal from the
             United States District Court for the District of Colorado
                     The Honorable Christine M. Arguello
                  Civil Action No. 1:21-cv-00387-CMA-NRN
                               ________________

            DEFENDANTS’ - APPELLEES’ RESPONSE BRIEF
                          ______________

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                        STATEMENT OF RELATED CASES

      There are no prior or related appeals.

                        STATEMENT OF JURISDICTION

      The El Paso County Defendants concur with Griffith’s “Statement of

Jurisdiction” but maintain that Griffith waived her right to appellate review under

the firm waiver rule.

                                  INTRODUCTION

      The firm waiver rule bars Griffith from seeking appellate review. As relevant

here, this rule provides that a litigant waives the right to appellate review of factual

and legal questions if she fails to file a specific objection to a magistrate’s

recommendation in the district court. U.S. v. One Parcel of Real Property Known as

2121 East 30th Street, 73 F.3d 1057, 1059-60 (10th Cir. 1996). An objection is

sufficiently specific if it “‘enables the district judge to focus attention on those

issues—factual and legal—that are at the heart of the dispute...’” Id. at 1059

(quoting Thomas v. Arn, 474 U.S. 140, 147 (1985)). Griffith’s objection was not

sufficiently specific, as the district court found. This Court should find that Griffith

waived her appeal and end its inquiry there. But even if the Court considers Griffith’s

arguments, they are unavailing.

      Griffith’s Third Amended Complaint (“Complaint”) asserts claims about her

treatment in the El Paso County Criminal Justice Center (“CJC”) as a transgender


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woman diagnosed with Gender Dysphoria. El Paso County, Bill Elder, Cy Gillespie,

Dawne Elliss, Andrew Mustapick, Elizabeth O’Neal, Brande Ford, and Tiffany Noe

(collectively the “El Paso County Defendants”) filed a Motion to Dismiss Griffith’s

Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) (“Motion to Dismiss”). S.A.

15-55. After briefing by the parties, the Magistrate Judge issued a comprehensive

Report and Recommendation (“Recommendation”) calling for the dismissal of

Griffith’s Complaint on multiple grounds. A. 83-125. Griffith filed an Objection to

the Recommendation (“Objection”) in which she recycled the same arguments, often

verbatim, made in response to the Motion to Dismiss. S.A. 132-162. The El Paso

County Defendants responded that the Objection lacked sufficient specificity under

the firm waiver rule. Id. 163-179.

      In its Order Adopting the Recommendation (“Order”), the District Court

Judge agreed, finding that the Objection was “largely a restatement—often

verbatim—of [Griffith’s] arguments presented in Response to the Motion to

Dismiss” that “d[id] not enable the Court to ‘focus attention on those issues—factual

and legal—that are at the heart of the parties’ dispute.’” A. 140 (quoting Thomas,

474 U.S. at 147, and citing One Parcel, 73 F.3d at 1060).

      Griffith does not appeal this determination and offers no argument to avoid

the application of the firm waiver rule. She is, therefore, barred from seeking

appellate review. See Gonzalez De Gomez v. Adams Cnty., No. 22-1199, 2023 WL


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5163988, at *2 (10th Cir. Aug. 11, 2023) (unpublished) (the firm waiver rule barred

appellate review where a counseled appellant addressed it “[o]nly in her reply

brief…after [appellee] pointed out the waiver….”); Moore v. Astrue, 491 F. App’x

921, 923 (10th Cir. 2012) (unpublished) (the firm waiver rule barred appellate review

because the counseled appellant “ignore[d] [it] in his opening appeal brief….”);

Ziankovich v. Large, 833 Fed. App’x 721, 724-25 (10th Cir. 2020) (unpublished) (the

firm waiver rule barred appellate review where an attorney, licensed in New York

but appearing pro se, did not “address the district court’s determination that his

objections to the magistrate judge’s decision were not sufficiently specific” in his

opening brief and did “not dispute the district court’s determination that his

objections were not sufficiently specific nor d[id] he provide any other argument…to

avoid applying the firm waiver rule.”).

      Even if this Court considers the merits of Griffith’s appeal, the district court’s

Order should be affirmed. In the face of exceedingly murky law surrounding the

housing and treatment of transgender individuals, including those diagnosed with

Gender Dysphoria, in correctional institutions, Griffith’s claims fail because (i) the

rights she alleges do not exist, (ii) there is no clearly established law that would

preclude the application of qualified immunity, and (iii) she cannot show that any El

Paso County Defendant acted with deliberate indifference.




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                             STATEMENT OF ISSUES

      1.     Griffith did not provide a specific objection to the Recommendation

and did not address the waiver issue on appeal. Did Griffith waive her right to

appellate review under the firm waiver rule?

      2.     Published precedent from this Circuit states that transgender status is

not a protected class. Did the district court correctly dismiss Griffith’s Equal

Protection Claim (Claim 1)?

      3.     The El Paso County Defendants did not violate a clearly established

constitutional right. Did the district court correctly dismiss Griffith’s claims brought

under the Fourth and Fourteenth Amendments (Claims 3 and 4)?

      4.     Griffith did not plausibly allege any El Paso County Defendants’

participation in a constitutional violation. Did the district court correctly dismiss

Griffith’s unconstitutional conditions of confinement claim (Claim 2)?

      5.     The district court found that the El Paso County Defendants were

entitled to qualified immunity. Should this Court reach the same conclusion?

      6.     Griffith did not plausibly allege deliberate indifference to a disability.

Did the district court correctly dismiss Griffith’s claims brought under Title II of the

Americans with Disabilities Act (“ADA”) and Section 504 of the Rehabilitation Act

(“Rehabilitation Act”) (Claims 10 and 11)?




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       7.    The district court found that Griffith did not plausibly allege any

constitutional violations. Did the district court correctly dismiss Griffith’s claims

alleging municipal liability?

                          STATEMENT OF THE CASE

I.     Procedural Background

       In her Complaint, Griffith alleged violations of 42 U.S.C. § 1983; the ADA;

the Rehabilitation Act; and the Enhance Law Enforcement Integrity Act, C.R.S. §

13-21-131. Griffith’s claims concerned her treatment in CJC as a transgender

woman diagnosed with Gender Dysphoria.

       The El Paso County Defendants moved to dismiss Griffith’s Complaint under

Fed. R. Civ. P. 12(b)(1) and (6). S.A. 15-55. Griffith filed a Response to the Motion

to Dismiss, id. 56-107, and the El Paso County Defendants filed a Reply in Support

of the Motion to Dismiss. Id. 108-131.

       The Magistrate Judge issued a meticulous Recommendation calling for each

of Griffith’s claims to be dismissed. The grounds for dismissal ranged from a lack

of plausible allegations, to the absence of clearly established case law, to each

individual Defendant’s entitlement to qualified immunity, to lack of jurisdiction. A.

83-125.

       Griffith then filed the Objection in which she restated the Response’s

arguments instead of identifying specific legal or factual flaws in the


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Recommendation. S.A. 132-162. In response, the El Paso County Defendants

argued that Griffith waived her right to de novo review of the Recommendation by

the District Court Judge (and subsequent appellate review) because the Objection

was not sufficiently specific. Id. 165-166.

      The District Court Judge issued an Order adopting the Recommendation in

full. A. 126-146. The District Court Judge explained that, “[r]ather than identifying

specific legal or factual errors in the Recommendation, [Griffith] merely reargues

her positions and asks the Court to interpret the facts and authorities differently in

order to arrive at a more favorable result. Although the Court understands [Griffith’s]

intention to preserve her objection to the entirety of the Recommendation, such an

objection does not enable the Court to focus attention on those issues—factual and

legal—that are at the heart of the parties’ dispute.” A. 140 (citation and quotation

omitted). Nevertheless, the District Court Judge went on to conduct a discretionary

de novo review of the Recommendation addressing “only a few points raised in the

Objection” because there was “little to add to Judge Neureiter’s comprehensive and

correct analysis.” Id.

      Griffith filed this appeal identifying five issues for consideration. Op. Br., 3-

4. Griffith does not appeal the district court’s determination that her Objection lacked

sufficient specificity under the firm waiver rule.




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II.      The Complaint’s Material Allegations

         Griffith appeals the district court’s dismissal of certain claims under Rule

12(b)(6). The Complaint’s material allegations are summarized as follows:

      A. Material Allegations Related to Griffith’s Housing Classification

         Griffith is a transgender woman who has been diagnosed with Gender

Dysphoria. A. 27-28, ¶ 2. Elder was the elected sheriff of the El Paso County

Sheriff’s Office (“EPSO”) and was responsible for running CJC during Griffith’s

detention. Id. 29-30, ¶ 14. Gillespie is an EPSO Commander responsible for

overseeing CJC’s operations. Id. 30, ¶ 15; 35, ¶ 42.

         Griffith entered CJC on July 20, 2020, as a pretrial detainee and an openly

transgender woman with a feminine appearance. Id. 36, ¶ 47. During the intake

process, Griffith informed unidentified individuals at CJC that she is a transgender

woman diagnosed with Gender Dysphoria and requested placement in the women’s

ward because she feared abuse, being misgendered, and being searched by male

deputies. Id. 37, ¶ 48.

         Separately during intake into CJC, Noe classified Griffith into a men’s ward

“despite knowing that [Griffith] is a transgender woman and that [Griffith] wished

to be placed into [a women’s ward].” Id., ¶ 54. Griffith did not plausibly allege that

Noe knew of her Gender Dysphoria diagnosis or her fear that she would be abused,

misgendered, or searched by male deputies in the men’s ward.


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      Ford held an ADA interview with Griffith on July 29, 2020, during which

Griffith told Ford that she wished to be placed in a women’s ward because “[i]t was

clear to [Ford]” that she is a transgender woman. Id. 37-38, ¶ 55. Ford wrote in

Griffith’s records that there were no disability concerns related to Griffith’s housing.

Id. 38, ¶ 55. Griffith did not plausibly allege that Ford knew of her Gender Dysphoria

diagnosis or her fear that she would be abused, misgendered, or searched by male

deputies in the men’s ward.

      Three months later, in October 2020, Griffith submitted a grievance “which

she believed would be transmitted to…Gillespie” requesting placement in a

women’s ward “because she is a transgender woman.” Id. ¶ 57. The grievance also

stated that Griffith had been placed in a women’s ward in a different facility. Id. In

response, “O’Neal stated that El Paso County had reviewed Ms. Griffith’s request

and denied her the accommodation of housing her in a facility that corresponded

with her gender identity.” Id. Griffith did not plausibly allege that O’Neal knew of

Griffith’s Gender Dysphoria diagnosis or her fear that she would be abused,

misgendered, or searched by male deputies in the men’s ward.

      The Complaint also contained allegations about Griffith’s kites, grievances,

and communications with individuals who are not parties to this case in which she

discussed her placement in the men’s ward. On December 9, 2020, Griffith submitted

a grievance requesting placement in a women’s ward, complaining that deputies


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were referring to her using male pronouns, and noting that she had previously been

placed in a women’s ward in a different facility. Id. ¶ 58. On January 4, 2021, an

unidentified individual responded by denying Griffith’s request. Id. On January 15,

2021, Griffith submitted another grievance regarding her housing and the conduct of

“numerous staff regarding the issue,” and notifying CJC and its medical provider

that she had been placed in a women’s ward in a different facility. Id. 39, ¶ 59. One

week later, Griffith told Raymond Carrington (a jail mental health provider

employed by WellPath) that she was experiencing anxiety because of her treatment

as a transgender inmate and her fear of retaliation from grieving said conduct. Id. ¶

60. That same day, Griffith also wrote a grievance asking to be transferred to a

women’s ward. Id. ¶ 61. On February 26, 2021, Griffith asked an unidentified

mental health provider why she continued to be housed in the men’s ward and

notified the provider of her resulting anxiety and depression. Id. ¶ 62. On March 9,

2021, Griffith wrote a grievance asking that Christine Mohr (a formerly named party

employed by WellPath) provide information to EPSO about Griffith’s Gender

Dysphoria. Id. 39-40, ¶ 63. On March 10, 2021, Griffith wrote a kite complaining

about her placement in CJC. Id. 40, ¶ 64. On March 11, 2021, Griffith informed

Mohr that she wanted to be housed in a women’s ward and had previously been

housed in a women’s ward in a different facility, and Mohr informed Griffith she

would consult with EPSO regarding Griffith’s housing. Id., ¶ 65. On March 19,


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2021, Mohr acknowledged talking to unidentified EPSO officials about Griffith’s

concerns and, on March 27, Mohr told Griffith that she would not be moved to a

female ward. Id. ¶ 66.

   B. Material Allegations Related to Griffith’s Initial Strip-Search

      Griffith was subjected to a “visual body-cavity search” upon intake at CJC.

Id. 41, ¶ 72. Griffith was taken to a separate room where a male deputy (Mustapick)

and female deputy (Elliss) arrived; Griffith asked Mustapick to leave. Id. ¶¶ 73-74.

Elliss informed Griffith that, per her sergeant’s orders, a male deputy would be

present during the search and conduct part of the search because Griffith was “still

a male” in CJC’s “system.” Id. 41-42, ¶ 74. Elliss instructed Griffith to take off her

shirt and Griffith complied.     Elliss visually inspected Griffith’s breasts while

Mustapick was present. Id. at 42, ¶¶ 75-76. Elliss then gave Griffith a sports bra

and allegedly told Mustapick, “he is all yours now to strip out” before leaving the

room. Id. 42, ¶ 76. Mustapick instructed Griffith to remove the clothing on the

lower half of her body and Griffith complied. Id. ¶ 77. Mustapick allegedly told

Griffith to “spread [her] sexy cheeks,” that he was “going to go balls deep in that

ass” while grabbing his own groin, and that Griffith “had better not tell anyone”

about what he said and did, or Griffith would be “brutalized” by CJC guards. Id. ¶¶

77-79 (brackets in original).




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   C. Material Allegations Regarding an Alleged Sexual Assault by Another
      Inmate

      Griffith alleged that, on November 18, 2021, another inmate groped her right

breast and said, “you know you want this dick.” Id. 43, ¶¶ 84-85. Afterward, Griffith

asked to see a mental health provider and to be moved to a female ward. Id. 43, ¶ 86.

Griffith broadly asserted that “[t]his was not the first time that [Griffith] was

assaulted by the other inmate” but provided no further allegations about the inmate’s

identity or any other purported assault. Id. 44, ¶ 87.

   D. Material Allegations Regarding Pat-Down Searches of Griffith by Male
      Deputies

      On January 20, 2021, Griffith wrote in a grievance that her anxiety went

“through the roof” when she was patted down by male deputies and that she was

“being singled out as a transgender woman for different treatment.” Id. ¶ 90. On

January 21, 2021, Griffith complained to the jail medical provider about the impact

of male pat-downs on her mental health. Id. The next day, Griffith wrote a grievance

because she was continually subject to cross-gender pat-down searches, including

one where a deputy intentionally touched her breast. Id. 44-45, ¶ 91. On January

23, 2021, Griffith wrote a kite regarding the lack of accommodations for her Gender

Dysphoria, citing cross-gender pat-down searches. The following month, Griffith




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wrote a grievance because she was subjected to “non-routine cross-gender pat down

searches on a daily basis....” Id. 45, ¶¶ 92-93.

   E. Material Allegations Regarding Misgendering by Deputies

      Griffith alleged that she was misgendered by sergeants and deputies

throughout her incarceration at CJC. Id. 46, ¶ 99. Griffith alleged that, on September

16, 2020, a deputy yelled a derogatory term in reference to Griffith after she

complained that other inmates in her ward were not required to wear shirts. Id. ¶

100. On November 10, 2020, and December 9, 2020, Griffith submitted grievances

because she was repeatedly misgendered by deputies. Id. ¶ 101. On February 3,

2021, Griffith submitted a grievance because she was being verbally harassed by

unidentified male deputies. Id. 47, ¶ 102. On February 26, 2021, Griffith informed

a medical provider that deputies continued to call her “sir.” Id. On June 23, 2021,

Griffith submitted a grievance because she was misgendered by a CJC official. Id.

¶ 103. And, on July 1, 2021, Griffith told Carrington that she identifies as female,

wished jail personnel would refer to her using female pronouns, she might harm

herself, and WPATH standards of care should be followed in CJC. Id. ¶ 104.

Carrington informed unidentified CJC officials about Griffith’s statements, but no

action was taken. Id.




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   F. Material Allegations Regarding Griffith’s Ability to Dress in Accordance
      with Her Gender Identity

      Despite stating that “Elliss gave [Griffith] a sports bra” upon intake, id. 42, ¶

76, Griffith asserted that her requests for a women’s sports bra and underwear were

denied even after she submitted grievances on September 7 and October 24, 2020.

Id. 48-49, ¶¶ 110-114. Griffith alleged that she eventually elevated her concerns to

Gillespie, who also denied her request. Id. 49, ¶ 114. On March 11, 2021, Griffith

expressed concerns about her lack of access to female undergarments to CJC's

medical provider. Id. ¶ 116. On March 27, 2021, the same provider told Griffith

that CJC officials decided not to issue female panties to Griffith. Id.

                        SUMMARY OF THE ARGUMENT

      Griffith waived her right to seek appellate review under the firm waiver rule

because she failed to file a sufficiently specific objection to the Magistrate Judge’s

Recommendation in the district court. This Court should therefore deny Griffith’s

appeal. But even if the Court reaches the merits of this appeal, it should affirm the

district court’s dismissal of Griffith’s claims. In the face of exceedingly murky law

surrounding the housing and treatment of transgender individuals—including those

diagnosed with Gender Dysphoria—in correctional institutions, Griffith’s claims fail

because (i) the rights she alleges do not exist, (ii) there is no clearly established law




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that would preclude the application of qualified immunity, and (iii) she cannot show

that any of the El Paso County Defendants acted with deliberate indifference.

                               STANDARD OF REVIEW

       The El Paso County Defendants agree that this Court reviews de novo a

district court’s Rule 12(b)(6) dismissal but maintain that Griffith is not entitled to

appellate review under the firm waiver rule.

                                   ARGUMENT

I.     Griffith Waived Her Right to Seek Appellate Review

       This Court’s firm waiver rule provides that the failure to make timely and

specific objections to a magistrate’s recommendation waives mandatory de novo

review by the district court and appellate review of both factual and legal questions.

One Parcel, 73 F.3d at 1059-60. Since Griffith failed to make specific objections to

the Recommendation below, the firm waiver rule forecloses this appeal.

       The District Court Judge found that Griffith’s Objection was a restatement,

often verbatim, of her Response to the Motion to dismiss that “d[id] not enable the

Court to focus attention on those issues—factual and legal—that are at the heart of

the parties’ dispute.” A. 140 (quoting Thomas, 474 U.S. at 150, and citing One

Parcel, 73 F.3d at 1059). In other words, the District Court Judge ruled that the firm

waiver rule applies because the Objection was not sufficiently specific. Griffith does

not appeal this determination. She is thus barred from seeking appellate review. See


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Gonzalez de Gomez, 2023 WL 5163988, at *2; Moore, 491 F. App’x at 923;

Ziankovich, 833 F. App’x at 724-25.

      Griffith may try to argue in her reply brief that the District Court Judge’s

discretionary de novo review of the Recommendation salvages her right to appellate

review. This Court’s precedent dooms such an argument. See One Parcel, 73 F.3d

at 1061 (“[T]he district court’s decision to conduct a de novo review, sua sponte,

does not warrant lifting the bar of appellate review under the circumstances

presented here.”); Vega v. Suthers, 195 F.3d 573, 580 (10th Cir. 1999) (“[A] district

court’s decision to review [a recommendation] de novo, despite the lack of an

appropriate objection, does not, standing alone, preclude application of the [firm]

waiver rule [on appeal].”); In re Key Energy Res., 230 F.3d 1197, 1201 n.3 (10th Cir.

2000) (“[E]ven had the district court performed the de novo review normally

triggered only by timely and specific objections to the magistrate’s report and

recommendation, that fact would not preclude application of the [firm] waiver rule

or somehow ‘revive’ appellant’s claims….”); Rasdall v. Barnhart, 116 F. App’x 948,

949-50 (10th Cir. 2004) (unpublished) (although the district court considered and

rejected an untimely objection, “the law is clear in this circuit that such discretionary

largess by the district court does not negate the appellate-waiver consequences….”)

(emphasis in original).




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      Griffith may also try to argue that one of three exceptions to the firm waiver

rule applies. Such an argument would be unpersuasive. The first exception applies

when a pro se litigant has not been informed of the time period for objecting or the

consequences of failing to object. Morales-Fernandez v. I.N.S., 418 F.3d 1116, 1119

(10th Cir. 2005).    Under the second exception, the firm waiver rule may be

suspended in the “interest of justice.” Wardell v. Duncan, 470 F.3d 954, 958 (10th

Cir. 2006). Finally, the third exception provides that the firm waiver rule may be

suspended upon a showing of plain error. Martinez v. Martinez, 294 F. App’x 410,

413 (10th Cir. 2008) (unpublished). Plain error, if argued, “often proves to be an

extraordinary, nearly insurmountable burden….” Richison v. Ernest Group, Inc.,

634 F.3d 1123, 1131 (10th Cir. 2011) (quotations and citation omitted).

      None of these exceptions applies. The first exception is inapplicable because

Griffith was represented by competent counsel at all relevant times. See Allman v.

Colvin, 813 F.3d 1326, 1330 (10th Cir. 2016) (the first exception did not apply

because the appellant was represented by counsel). The second exception is

inapplicable because “the interest-of-justice exception applies to a counseled party

‘only in the rare circumstance in which a represented party did not receive a copy of

the magistrate [judge’s] R & R.’” Hunter v. HCA, 812 F. App’x 774, 777 (10th Cir.

2020) (unpublished) (citing Vega, 95 F.3d at 580). The final exception is inapplicable

because Griffith does not argue the plain error exception, and this Court “need not


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consider it.” Johnson v. Reyna, 57 F.4th 769, 778 n.7 (10th Cir. 2023) (citation

omitted). Indeed, “the failure to argue for plain error and its application on appeal—

surely marks the end of the road for an argument for reversal not first presented to

the district court.” Richison, 634 F.3d at 1131 (citation omitted).

        In sum, the firm waiver rule precludes Griffith’s appeal. The Court should

proceed no further in its review.

II.         The District Court Correctly Dismissed Griffith’s Fourteenth
            Amendment Equal Protection Claims (Claim 1)

        Griffith claimed that the El Paso County Defendants discriminated against her

on the basis of sex by denying her housing classification preference; denying her

access to female cosmetics and undergarments; and allowing her to be strip searched

by a male deputy. The district court correctly dismissed Griffith’s equal protection

claims because controlling case law in this jurisdiction does not identify transgender

as a suspect class and Griffith failed to establish that the El Paso County Defendants

did not have a rational basis for their classification decisions. A. 100-101.

        This Court has addressed constitutional issues related to transgender inmates

in two controlling cases, Supre and Brown. In 1986, this Court affirmed that a

particular course of care for transgender inmates was not mandated by the

constitution, denying attorney’s fees following dismissal of that inmate’s claim.

Supre v. Ricketts, 792 F.2d 958, 963 (10th Cir. 1986). The Court revisited the

question of equal protection for transgender individuals in 1995, ruling that

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transgender is not a suspect or quasi-suspect class warranting heightened scrutiny of

the government’s classification decisions. Brown v. Zavaras, 63 F.3d 967, 972 (10th

Cir.1995). Supre and Brown have been upheld by this Court in subsequent cases

over the last 30 years. See Qz’Etax v. Ortiz, 170 F. App’x 551, 553 (10th Cir. 2006)

(unpublished) (holding that prison’s decision to deny gender-affirming care to

transgender inmate did not implicate a fundamental right or a suspect class); see also

Druley v. Patton, 601 F. App’x 632, 635-36 (10th Cir. 2015) (unpublished) (prison’s

denial of transgender inmate’s request for female undergarments and to be housed

in female facility did not warrant heightened scrutiny).

      The El Paso County Defendants made their decisions regarding Griffith’s

housing and searches in consideration of all available information to them at the time

Griffith was incarcerated in CJC. Those decisions, like all inmate classification

decisions, were made to preserve Griffith’s safety, the safety of other inmates, and

the efficient function of CJC. To subject those decisions to unnecessarily heightened

scrutiny would stand in stark opposition to well-established precedent affording

deference to the decisions of jail administrators. See Bell v. Wolfish, 441 U.S. 520,

547 (1979) (“[T]he problems that arise in the day-to-day operation of a corrections

facility are not susceptible of easy solutions. Prison administrators therefore should

be accorded wide-ranging deference in the adoption and execution of policies and

practices that in their judgment are needed to preserve internal order and discipline


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and to maintain institutional security.”). Because Griffith is not considered a

member of a suspect class under Brown and because her Complaint does not

implicate a fundamental right, the district court was correct in dismissing her equal

protection claim.

         Applying heightened scrutiny would also undermine regulations promulgated

pursuant to the Prison Rape Elimination Act, particularly 28 C.F.R. § 115.42(c),

which states:

         In deciding whether to assign a transgender...inmate to a facility for
         male or female inmates, and in making other housing and programming
         assignments, the agency shall consider on a case-by-case basis whether
         a placement would ensure the inmate’s health and safety, and whether
         the placement would present management or security concerns.

This regulation reinforces the fact that housing and programming decisions

concerning transgender inmates should be left to the discretion of correctional

institutions, and thus subject to rational basis review.

III.     The District Court Properly Dismissed Griffith’s Fourth and Fourteenth
         Amendment Claims (Claims 3 and 4)

         Griffith alleged violations of her 4th Amendment right to be free from

unreasonable searches and seizures and her 14th Amendment right to substantive

dues process arising from the strip search conducted during her booking into the El

Paso County Jail. A. 54, ¶ 150; A. 55-56, ¶¶ 156-164; Op. Br., 34-46. Regarding

Griffith’s Fourth Amendment claim, the Supreme Court set out the test for the

reasonableness of a search in carceral settings, requiring the court to balance the

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need for the search against the infringement on the inmate’s personal rights. Bell,

441 U.S. at 559.        The district court correctly found that the needs of jail

administration justified the visual strip search of Griffith. A. 109-110, 112-116. This

court should affirm that finding.

         A jail regulation that impinges on an inmate’s constitutional rights is deemed

valid if it is reasonably related to legitimate penological interests. Turner v. Safley,

482 U.S. 78, 89 (1987). In analyzing whether a strip search is reasonable, “[c]ourts

must consider the scope of the particular intrusion, the manner in which its

conducted, the justification for initiating it, and the place in which it is conducted.”

Bell, 441 U.S. at 559. Measured against these factors, Griffith’s strip search was

valid.

         First, the complaint of intrusion was minor under the circumstances. The strip

search occurred as Griffith entered CJC to be housed in general population, which is

a standard procedure implemented for safety and security reasons. See Archuleta v.

Wagner, 523 F.3d 1278, 1284 (10th Cir. 2008) (reasonableness of strip search turns

in part on whether inmate will be housed in general population).             The only

individuals present during Plaintiff’s strip search were Mustapick and Elliss.

Plaintiff’s nude body was not exposed to any other staff or inmates. See Hyberg v.

Enslow, 801 F. App’x 647, 650-51 (10th Cir. 2020) (unpublished) (finding no

plausible Fourth Amendment claim where inmate was strip searched in a designated


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area “with limited access for other inmates and staff” before returning to general

population, and where staff made insensitive comments).

      Griffith argues that she plausibly alleged a constitutional violation because

Elliss and Mustapick purportedly made abusive comments. Op. Br., 39-40. But

verbal statements made during a search are insufficient to establish a constitutional

violation. See Adkins v. Rodriguez, 59 F.3d 1034, 1037 (10th Cir. 1995) (holding that

verbal sexual harassment by a prison guard did not violate a constitutional right);

Hyberg, 801 F. App’x at 650-51.

      The remaining Bell factors also weigh against a constitutional violation. The

justification for the strip search of Plaintiff was strong. Plaintiff was strip searched

during intake into CJC to ensure the safety and security of the facility. Such searches

ensure that newly admitted inmates being housed in general population do not

introduce weapons or contraband into the facility. See Florence v. Bd. of Chosen

Freeholders, 566 U.S. 318, 332 (2012) (contraband undermines security when

introduced into a secure facility); see also Hyberg, 801 F. App’x 650 (“[T]here are

obvious security concerns inherent when an inmate will be placed in the general

prison population.” (citation omitted)). The allegations further establish that the strip

search was not conducted in a public area in CJC, but in an area where only Elliss

and Mustapick could observe Griffith. See id. (discussing setting of a search).

Accordingly, the third and fourth Bell factors do not support finding a constitutional


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violation. Nor do the authorities discussed above show that the strip search alleged

by Griffith violated a clearly established constitutional right.

      As for her 14th Amendment substantive due process claim, Griffith does not

clearly explain what she must plausibly allege to state a viable claim. See Op. Br.,

34-46. As the El Paso County Defendants explained below, government action

violates substantive due process if it “shocks the conscience.” Cnty. of Sacramento

v. Lewis, 523 U.S. 833, 848 (1998). To satisfy this standard, “the plaintiff must

demonstrate a degree of outrageousness and a magnitude of potential or actual harm

that is truly conscience shocking.” Uhlrig v. Harder, 64 F.3d 567, 574 (10th Cir.

1995). This “requires a high level of outrageousness, because the Supreme Court

has admonished that a substantive due process violation requires more than an

ordinary tort.” Id. And the Supreme Court “has always been reluctant to expand the

concept of substantive due process because the guideposts for responsible decision

making in this unchartered area are scarce and open-ended.” Albright v. Oliver, 510

U.S. 266, 271 (10th Cir. 1994).

      As relevant here, actions that shock the conscience include sexual assault and

rape of prisoners by guards. Hall v. Zavaras, No. 08-cv-00999-DME, 2008 WL

5044553, at *4 (D. Colo. Nov. 19, 2008) (unpublished).             While the alleged

statements that Griffith attributes to Elliss and Mustapick are deeply hurtful and




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upsetting, they do not rise to the egregious level of a sexual assault or rape. The

Court should thus affirm the dismissal of Griffith’s Fourteenth Amendment claim.

IV.     The District Court Correctly Dismissed Griffith’s Conditions of
        Confinement Claim (Claim 2)

        As a pretrial detainee, Griffith’s challenge to the conditions of her

confinement is governed by the Fourteenth Amendment’s due process clause. See

Porro v. Barnes, 624 F.3d 1322, 1326 (10th Cir. 2010). The Eighth Amendment

proscription against cruel and unusual punishment, however, “provides the

benchmark” for claims challenging a pretrial detainee’s conditions of confinement.

McClendon v. City of Albuquerque, 79 F.3d 1014, 1022 (10th Cir. 1996) (citations

omitted). To succeed under the Eighth Amendment, Griffith must prove both an

objective and a subjective component. The objective component requires Griffith to

show that the alleged deprivation denied “the minimal civilized measure of life’s

necessities,” while the subjective component requires Griffith to show that the

individual El Paso County Defendants had “a sufficiently culpable state of mind, i.e.,

deliberate indifference.” Id. (citations and quotation omitted). Under the deliberate

indifference standard, an official is only liable if he “knows of and disregards an

excessive risk to inmate health and safety; the official must both be aware of facts

from which the inference could be drawn that a substantial risk of serious harm

exists, and he must also draw the inference.” Farmer v. Brennan, 511 U.S. 825, 837

(1994). A pretrial detainee can also establish a due process violation “by providing

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only objective evidence that the challenged governmental action is not rationally

related to a legitimate governmental objective or that it is excessive in relation to

that purpose.” Colbruno v. Kessler, 928 F.3d 1155, 1163 (10th Cir. 2019) (quotation

and citation omitted). See A. 107 (district court reciting both standards).

      The El Paso County Defendants moved to dismiss Griffith’s conditions of

confinement claim on several grounds, including a lack of personal participation by

each Defendant, a failure to plausibly allege deliberate indifference, and a failure to

plausibly allege a constitutional violation. S.A. 27-30. Griffith “ignore[d] these

arguments” in her briefing. A. 107. She did so again in her objection to the

Magistrate Judge’s Recommendation. See S.A. 148-49. This Court should find that

Griffith has waived her right to review of this issue. See One Parcel, 73 F.3d at 1059.

      Even if the Court considers Griffith’s argument now, it is unavailing. Griffith

attempts to make out a due process violation under Colbruno, which requires

“objective evidence that the challenged governmental action is not rationally related

to a legitimate governmental objective or that it is excessive in relation to that

purpose.” 928 F.3d at 1163. As argued here and in the district court, however, the

El Paso County Defendants’ classification of Plaintiff as male, housing Plaintiff in

the male ward, and employing reasonable search procedures were all rationally

related in the need to provide for the safe and secure function of CJC. This is so

because Plaintiff has not undergone gender affirmation surgery and still has male


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genitalia. S.A. 26-27; e.g., A. 32, 47 (allegations stating Griffith has male genitals).

This, the district court found, was rationally related to a legitimate government

interest under Brown v. Zavaras, 63 F.3d 967, 971 (10th Cir. 1985). A. 105-07, 142-

44.

        Griffith also argues that Elder, as former sheriff, was responsible for CJC’s

“policies for the treatment of transgender women.” Op. Br., 50. She posits that this

establishes Elder’s personal participation under a theory of supervisory liability. See

Dodds v. Richardson, 614 F.3d 1185, 1195 (10th Cir. 2010) (personal participation

may be satisfied under a theory of supervisory liability). Supervisory liability

requires a plaintiff to first show an underlying constitutional violation committed by

the supervisor’s subordinate. The plaintiff must then show (1) the defendant’s

personal involvement; (2) a causal connection; and (3) a culpable state of mind. See

id. Personal involvement requires a plaintiff to “show an ‘affirmative link’ between

the supervisor and the constitutional violation.” Estate of Booker v. Gomez, 745 F.3d

405, 435 (10th Cir. 2014) (quotations omitted). Personal participation may be

established by showing that the individual enacted a “policy or custom” recognizable

under Monell. Schneider v. City of Grand Junction Police Dep’t, 717 F.3d 760, 768-

70 (10th Cir. 2013). A causal connection requires a showing that “the defendant set

in motion a series of events that the defendant knew or reasonably should have

known would cause others to deprive the plaintiff of her constitutional rights.”


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Dodds, 614 F.3d at 1211 (Tymkovich, J., concurring) (quotations omitted).

Deliberate indifference is “a stringent standard of fault, requiring proof that a

municipal actor disregarded a known or obvious consequence of his action.” Bd. of

Cnty. Comm’rs v. Brown, 520 U.S. 397, 410 (1997).

      Here, Griffith did not plausibly establish an underlying constitutional

violation, as the district court found. A. 116-117, 137-38, 146. Nor has Griffith

plausibly alleged the existence of a policy or custom; a causal link; or that Elder

acted with deliberate indifference. This Court should uphold the dismissal of

Griffith’s claim against Elder. 1

      Finally, Griffith contends that Defendants Noe, Ford, and O’Neal “plainly

satisfy the personal participation standard” because Griffith “informed all of them

that she feared being housed in a male unit because she is a transgender woman.”

Op. Br., 51-52. This is not so. Griffith alleges that O’Neal told her that an October

2020 grievance asking to be moved to a female ward was denied by EPSO. A. 38, ¶

57. This lone communication to Griffith about another official’s denial of a grievance

does not establish O’Neal’s personal participation in a constitutional violation. See

Gallagher v. Shelton, 587 F.3d 1063, 1069 (10th Cir. 2009) (claims against prison




1
 Griffith does not appeal the district court’s dismissal of this claim against Gillespie.
Op. Br., 50 n.15.
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officials properly dismissed where officials’ only alleged involvement was the denial

of grievances); A. 108 (Magistrate Judge recommending dismissal on this ground).

      The Court should also uphold the dismissal of Griffith’s claims against Noe

and Ford. Griffith alleged that Noe knew Griffith was transgender and wished to be

housed in the female ward but placed her in a male ward. A. 37, ¶ 54. Griffith alleged

that Ford conducted an initial interview with her in July 2020 for purposes of the

Americans with Disabilities Act, and that it was clear to Ford that Griffith was

transgender. A. 37-38, ¶ 55. Griffith goes on to allege that all El Paso County

Defendants failed to protect her from sexual assault by other CJC inmates. A. 43 ¶

84-86; A. 54 ¶ 151.

      As an initial matter, these allegations state that Noe and Ford were the only El

Paso County Defendants involved in Griffith’s housing assignment. Griffith has not

stated a claim challenging the conditions of her confinement against the remaining

Defendants. See Foote v. Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997) (“Individual

liability under § 1983 must be based on personal involvement in the alleged

constitutional violation.”). Further, Griffith’s allegations fail to state a constitutional

violation because they do not show that Noe and Ford’s actions constituted deliberate

indifference. See Green v. Hooks, 798 F. App’x 411, 422-23 (11th Cir. 2020)

(unpublished) (prison officials were not deliberately indifferent when they housed a

transgender inmate in a general population dormitory, despite subsequent sexual


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assaults). The Magistrate Judge correctly recommended that Griffith “d[id] not

plausibly allege that Defendants Noe or Ford were aware that Plaintiff would be at

risk of substantial harm if placed in the all-male facility or that they disregarded that

risk.” A. 108. This Court, like the district court, should reach that conclusion. 2

V.     The District Court Correctly Granted the El Paso County Defendants
       Qualified Immunity

       The El Paso County Defendants raised the qualified immunity defense to

Griffith’s constitutional claims. S.A. 37-39. Griffith thus bears the burden of

showing that (1) a constitutional violation occurred, and (2) the violation was of a

right clearly established at the time of the alleged violation. Hulen v. Yates, 322 F.3d

1229, 1237 (10th Cir. 2003). To determine whether a right was clearly established,

the Court must ask whether the contours of the right are so clearly defined that a




2
  In the district court, Griffith also brought her conditions of confinement claim
against Elliss and Mustapick, the deputies who performed her strip search. A. 53-54
(Claim Two brought against all Defendants). On appeal, Griffith does not address
either deputy with respect to this claim. Even if she did, the sexual harassment that
Plaintiff attributes to Mustapick and the single instance of misgendering that Plaintiff
attributes to Elliss do not state a constitutional claim. Barney v. Pulsipher, 143 F.3d
1299, 1310 n.11 (10th Cir. 1998) (“Although plaintiffs allege [defendant] subjected
them to severe verbal sexual harassment and intimidation, these acts of verbal
harassment alone are not sufficient to state a claim under the Eighth Amendment.”);
Adkins, 59 F.3d at 1037-38; A.33-34 (finding no plausible constitutional violation
and recommending qualified immunity on the “clearly established” prong of
qualified immunity).
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reasonable person would recognize their actions as violative of that right. Ullery v.

Bradley, 949 F.3d 1282, 1289 (10th Cir. 2020).

      For the reasons stated above, Griffith did not establish that a constitutional

violation occurred. Nor could Griffith show a clearly established right. The district

court correctly noted that this case arises “during a time period of shifting

jurisprudence among the circuit courts.” A. 134. The mercurial nature of the law on

these issues is further evidenced by Griffith’s failure to cite binding precedent.

Indeed, for every persuasive case cited by Griffith, there appear to be an equal

number opposing her position. See Naisha v. Metzger, No. 20-3056, 2021 WL

5632063, at *1-2 (3d Cir. 2021) (unpublished) (granting qualified immunity to male

deputy who conducted visual strip search of transgender inmate and laughed at

inmate, because law was not clearly established); see generally Carter-el v. Boyer,

No. 1:19cv243 (TSE/MSN), 2020 WL 939289, at *4 (E.D. Va. Feb. 25, 2020)

(observing that “little if any case law addresses the issue of the propriety of cross-

gender searches of transgender inmates”); see also Galvan v. Carothers, 855 F. Supp.

285, 293 (D. Alaska 1994) (“[P]laintiff’s right not to be housed on an all male ward

[sic] was not clearly established at the time of the alleged violations.”). The weight

of non-binding authority from other jurisdictions is not so great as to put a reasonable

jail custodian or classification manager on notice that their actions may violate a

transgender inmate’s constitutional rights.      For that reason, the district court


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correctly granted the El Paso County Defendants qualified immunity and its ruling

should be affirmed.

VI.     The District Court Correctly Dismissed Griffith’s Claims Brought Under
        the ADA and Rehabilitation Act

        Griffith alleged that she was subject to discrimination because of her Gender

Dysphoria diagnosis and denied reasonable accommodations for this condition in

violation of the ADA and Rehabilitation Act. A. 68-74. She sought compensatory

damages and injunctive relief for these alleged violations. The district court

dismissed Griffith’s claims for compensatory damages because the Complaint did

not allege that EPSO acted with deliberate indifference. A. 122-123. The district

court also dismissed Griffith’s claims for injunctive relief because they were moot

after Griffith was moved to a female ward and given access to female clothing and

grooming products. Id. 123. Griffith does not appeal the dismissal of her request

for injunctive relief.

        Courts examine ADA and Rehabilitation Act claims using a similar

framework requiring a plaintiff to show that: (1) she is a qualified individual with a

disability; (2) she was either excluded from participation in or denied the benefits of

a public entity’s services, programs, or activities, or was otherwise discriminated

against by the public entity; and (3) her exclusion, denial, or discrimination was by

reason of her disability. 42 U.S.C. § 12132; Cunningham v. Univ. of N.M. Bd. of

Regents, 531 F. App’x 909, 919 (10th Cir. 2013) (unpublished) (noting that because
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the same substantive standards apply, court’s rulings with regard to the ADA apply

with equal force to the Rehabilitation Act); but see Crane v. Utah Dep’t of Corr., 15

F.4th 1296, 1312-13 (10th Cir. 2021) (discussing the different causal standards under

Title II of the ADA and Rehabilitation Act).

       The ADA defines the term “disability” broadly to include “a physical or

mental impairment that substantially limits one or more major life activities of such

individual.” 42 U.S.C. § 12102(1)(A). But, it excludes “gender identity disorders

not resulting from physical impairments....” Id. § 12211(b).

       Compensatory damages under the ADA and Rehabilitation Act are only

available in instances of intentional discrimination. See Havens v. Colo. Dep’t. of

Corr., 897 F.3d 1250, 1264 (10th Cir. 2018). Intentional discrimination can be

inferred from a defendant’s deliberate indifference to a strong likelihood that the

pursuit of its questioned policies will likely result in a violation of federally protected

rights and a corresponding failure to act. Id.

   A. The District Court Correctly Dismissed Griffith’s ADA and
      Rehabilitation Act Claims Because There is No Law Clearly Establishing
      Gender Dysphoria as a Disability

       In the Motion to Dismiss, EPSO argued that Griffith failed to allege deliberate

indifference because “it is unclear whether the right alleged [Gender Dysphoria’s

status as a disability]…is protected under the ADA and Rehabilitation Act at all.”

S.A. 52. Griffith’s Response did not explain how EPSO could act with deliberate


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indifference in these circumstances. See S.A. 104-105, 128 (“The Response does

not confront the question posed in the Motion: how can an entity be deliberately

indifferent under Title II of the ADA and Rehabilitation Act when the existence of

the right alleged is unclear?”). The district court agreed with the El Paso County

Defendants and dismissed Griffith’s claims.

      The district court’s Order is correct. When the El Paso County Defendants

filed their Motion to Dismiss, no circuit court had ruled on the issue of whether

Gender Dysphoria is excluded from the ADA’s definition of a disability under 42

U.S.C. § 12211(b)(1). See Venson v. Gregson, No. 3:18-cv-2185-MAB, 2021 WL

673371, at *2 (S.D. Ill. Feb. 22, 2021). The few district courts that addressed the

issue were split. See, e.g., Doe v. Pa. Dep’t of Corr., No. 1:20-cv-00023-SPB-RAL,

2021 WL 1583556, at *8-9 (W.D. Pa. Feb. 19, 2021) report and recommendation

adopted, No. CV 20-23, 2021 WL 1115373 (W.D. Pa. Mar. 24, 2021). And, the only

decision from the District of Colorado to have previously ruled upon this issue stated

that “[g]ender dysphoria, as a gender identity disorder, is specifically exempted as a

disability….” Michaels v. Akal Sec., Inc., No. 09-cv-01300-ZLW-CBS, 2010 WL

2573988, at *6 (D. Colo. Jun. 24, 2010).

      During briefing on the Motion to Dismiss, the Fourth Circuit issued an opinion

in Kincaid v. Williams, 45 F.4th 759, 765-770 (2022), ruling that Gender Dysphoria

is protected under the ADA because it is not a “gender identity disorder.” Sheriff


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Kincaid subsequently sought Supreme Court review but her petition for certiorari

was denied, leaving this issue in flux. Kincaid v. Williams, 143 S.Ct. 2414 (2023).

Justices Alito and Thomas dissented from the denial of certiorari, writing that,

      [i]f the Fourth Circuit’s decision is correct, there should be no delay in
      providing the protection of the ADA to all Americans who suffer from
      “feeling[s] of stress and discomfort” resulting from their “assigned
      sex.” But if the Fourth Circuit’s decision is wrong—and there is
      certainly a reasonable argument to that effect—then the 32 million
      residents of the Fourth Circuit should not have to bear the consequences
      while other courts wrestle with the same legal issue.
Id. at 2415. Thus, Gender Dysphoria’s status as a disability is no clearer today than

it was when Griffith filed her Complaint.

      Yet, Griffith now asks this Court to wrestle with the same legal issue the

Supreme Court refused to consider. But, the district court’s decision did not hinge

on whether Gender Dysphoria is, in fact, a disability under the ADA and

Rehabilitation Act. Rather, the district court could not “say that…EPSO was

deliberately indifferent to the ‘strong likelihood’ of a harm to a right that may not

even be protected by the ADA and [Rehabilitation Act],” because Gender

Dysphoria’s status as a disability “is not remotely settled law.” A. 123 (citing

Roberts v. City of Omaha, 723 F.3d 966, 975-76 (8th Cir. 2013) (“Taking all of the




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disputed facts in Robert’s favor, nothing in the law clearly established the ADA and

Rehabilitation Act applied to the undisputed circumstances of this case.”)). 3

      The district court’s ruling comports with the law and common sense—an

entity must have reason to know that a right exists before it can be deliberately

indifferent to the likelihood that its actions will violate that right. See Havens, 897

F.3d at 1267 (“Deliberate indifference requires actual knowledge; allegations that

one would have or ‘should have known’ will not satisfy the knowledge prong of

deliberate indifference.”) (quotation omitted). To rule otherwise would place public

entities in the precarious position of having to predict how courts will rule on

complex legal issues, such as the one presented here. The district court’s ruling

should, therefore, be affirmed.

    B. Griffith’s New Argument Lacks Merit

      The district court’s Order resolved the deliberate indifference question as it

was framed by the parties in the district court. Griffith now argues, for the first time

on appeal, that she was not required to plead deliberate indifference because it is

akin to an affirmative defense. See Op. Br., 56 (citing Asabedo v. Kan. State Univ.,

559 F. App’x 668, 671 (10th Cir. 2014)). Stated otherwise, Giffith argues that her


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  Griffith argues that Roberts is inapplicable because it involved a failure to train
claim. This is a distinction without a difference. In this case and in Roberts, the
plaintiffs were required to establish deliberate indifference. The elements of
deliberate indifference are identical regardless of whether the ADA claim is
premised upon a failure to train or a failure to accommodate.
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claims for compensatory damages should have survived the Motion to Dismiss even

though she failed to allege that EPSO acted with a sufficiently culpable state of mind.

      Griffith did not make this argument in the district court. See S.A. 103, 161

(contrarily arguing that the Complaint “adequately alleged that El Paso County—

directly and through its agents—had knowledge that a harm to her federally

protected rights was substantially likely, and filed to act upon that likelihood.”).

Griffith has, therefore, forfeited her new argument. See Tele-Commc’ns, Inc. v.

Comm’r, 104 F.3d 1229, 1233 (10th Cir. 1997) (“In order to preserve the integrity of

the appellate structure, we should not be considered a ‘second-shot’ forum, a forum

where secondary, back-up theories may be mounted for the first time…Parties must

be encouraged to ‘give it everything they’ve got’ at the trial level.”) (citations

omitted). And, Griffith should not be allowed to sidestep her forfeiture by alluding

to amicus briefs filed by non-parties. See Tyler v. City of Manhattan, 118 F.3d 1400,

1403 (10th Cir. 1997).

      Griffith’s new argument is unavailing even if considered. Somewhat recently,

a court in the District of Kansas dismissed an ADA claim seeking compensatory

damages because the plaintiff failed to allege deliberate indifference in a pretrial

order. Hans v. Bd. of Shawnee Cnty. Comm’rs, No. 16-4117-DDC, 2018 WL

1638503, at *18 (D. Kan. Apr. 5, 2018). In doing so, the trial court stated that “our

Circuit generally has held that if a plaintiff fails to allege a theory of discrimination


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under the ADA in the Complaint or Pretrial Order, whichever is operative, plaintiff

waives that theory of liability.” Id.

      On appeal, the plaintiff failed to address the trial court’s ruling in his opening

brief. Hans, 775 F. App’x 953, 956 (10th Cir. 2019) (unpublished). Consequently,

this Court refused to disturb the trial court’s ruling, id., relying on Tyler, 118 F.3d at

1403, a case where the plaintiff also failed to address the dismissal of his ADA claim

for failure to plead deliberate indifference on appeal.

      On two prior occasions (in Tyler and Hans), this Court has refused to consider

the contention that Griffith now advances: that deliberate indifference does not need

to be pled. This Court should not stray from Tyler and Hans because they are in line

with Ashcroft v. Iqbal, 556 U.S. 662 (2009). There, the Supreme Court addressed

the application of Twombly’s pleading standard to claims of discrimination, finding

that “the plaintiff must plead and prove that the defendant acted with discriminatory

purpose.” Id. at 676 (citation omitted). The Supreme Court then affirmed the trial

court’s dismissal because the “respondent’s complaint does not contain any factual

allegation sufficient to plausibly suggest petitioners’ discriminatory state of mind.”

Id. at 683.

      Such is the case here. Pleading deliberate indifference is akin to pleading a

discriminatory purpose. The district court, therefore, properly viewed deliberate




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indifference as an essential element of Griffith’s ADA and Rehabilitation Act claims

and properly dismissed said claims for her failure to allege this essential element.

      Griffith’s new argument still fails even if deliberate indifference were an

affirmative defense rather than a pleading requirement. This Court has long held that

“a defendant may raise an affirmative defense by a motion to dismiss for the failure

to state a claim. If the defense appears plainly on the face of the complaint itself, the

motion may be disposed of under [Rule 12(b)(6)].” Miller v. Shell Oil Co., 345 F.2d

891, 893 (10th Cir. 1965).

      The absence of deliberate indifference appeared on the face of the Complaint.

There, Griffith alleged that Gender Dysphoria is a protected disability under the

ADA and Rehabilitation Act. As discussed above, this is an unsettled area of law.

Thus, the district court properly ruled, as a matter of law, that EPSO could not have

been deliberately indifferent in these unsettled circumstances. The district court’s

ruling should, therefore, be affirmed.

   C. Griffith’s Assertion that She Adequately Pled Deliberate Indifference
      Lacks Merit

      Griffith contends that she was only required to show that EPSO was

deliberately indifferent to the facts pled (i.e., that she requested an accommodation),

not to the likelihood that the facts pled would result in a violation of a federally




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protected right (i.e., that the denial of her accommodation request would likely

violate the ADA or Rehabilitation Act). See Op. Br., 57-59.

      Griffith’s argument relies on inapposite cases where the defendants failed to

accommodate plaintiffs whose disabilities were undisputed and obviously protected

by the ADA and Rehabilitation Act. See, e.g., Duvall v. Cnty. of Kitsap, 260 F.3d

1124 (9th Cir. 2001) (hearing-impaired inmate denied accommodation during court

hearings); Updike v. Multnomah Cnty., 870 F.3d 939, 954 (9th Cir. 2017) (hearing-

impaired inmate denied accommodations while in county jail); Cadena v. El Paso

Cnty., 946 F.3d 717, 726 (5th Cir. 2020) (inmate using a wheelchair denied

accommodation in county jail). Thus, in these cases, the defendants knew or should

have known that their failure to accommodate would likely violate rights protected

by the ADA and Rehabilitation Act.

       This case is markedly different because Griffith alleged Gender Dysphoria, a

condition that is arguably excluded from the ADA’s definition of a “disability” as

discussed above. In these contrasting and uncertain circumstances, EPSO simply

could not be deliberately indifferent to the likelihood that its actions would violate a

right protected by the ADA or Rehabilitation Act. The district court’s ruling should,

therefore, be affirmed.




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   D. This Court Should Refuse to Consider Griffith’s Argument Regarding
      the Application of Cummings v. Premier Rehab Keller

      On appeal, Griffith argues that Cummings v. Premier Rehab Keller, P.L.L.C.,

142 S. Ct. 1562 (2022), does not impact her ADA or Rehabilitation Act claims. Op.

Br., 61-64. The district court, however, did not base its dismissal on Cummings,

noting that the parties’ arguments regarding this decision were “interesting...but in

the end, they need not be decided now....” A. 122. This Court, like the district court,

should not consider Griffith’s argument.

      Still, the courts that have considered Cummings’ application have

overwhelmingly sided with the El Paso County Defendants. See Montgomery v.

Dist. of Columbia, No. 18-1928 (JDB), 2022 WL 1618741, at *23-26 (D.D.C. May

23, 2022) (finding the Cummings precluded plaintiff from seeking emotional distress

damages under Title II of the ADA); Williams v. Colo. Dep’t of Corr., No. 21-cv-

02595-NYN-NRN, 2023 WL 3585210, at *5-6 (D. Colo. May 22, 2023) (same);

Pennington v. Flora Cmty. Unit Sch. Dist. No. 35, No. 3:20-cv-11-MAB, 2023 WL

348320, at *2 (S.D. Ill. Jan. 20, 2023) (same); Kovatsenko v. Kentucky Cmty. &

Techn. Coll., 5:23-066-DCR, 2023 WL 3346108, at *4 (E.D. Ken. May 10, 2023)

(same); Doherty v. Bice, 18-cv-10898 (NSR), 2023 WL 5103900, at *5-6 (S.D. N.Y.

Aug. 9, 2023) (same); see also Doe ex rel. Doe v. City of Pawtucket, 633 F.Supp.3d

583 (D.R.I. Sept. 29, 2022) (“[T]o the extent that Plaintiff seeks nominal damages

for harm that is properly characterized as emotional distress, the Court rejects such

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a facial rebranding[.]”); but see Hejmej v. Peconic Bay Med. Ctr., 17-cv-782 (JMA)

(SIL), 2022 WL 4551696, at *1 (E.D.N.Y. Sept. 29, 2022) (finding that plaintiff

could pursue nominal damages under the Rehabilitation Act).

      Thus, if this Court is inclined to address Cummings’ impact, it should find that

Griffith is precluded from seeking emotional distress damages and nominal damages

under the ADA and Rehabilitation Act if she had viable claims.

VII. The District Court Correctly Dismissed Griffith’s Claims of Municipal
     Liability

      The district court correctly found that Griffith did not state a municipal

liability claim because she did not state an underlying constitutional violation. A.

116-117, 146; but see Crowson v. Washington Cnty. Utah, 983 F.3d 1166, 1191 (10th

Cir. 2020) (with “a limited exception” (that Griffith does not invoke), there “must be

a constitutional violation, not just an unconstitutional policy, for a municipality to

be held liable.”). This Court should affirm the district court’s finding.

      This Court may affirm the dismissal of Griffith’s municipal liability claim for

other reasons as well. Municipalities cannot be held liable for the unconstitutional

actions of their employees under a theory of respondeat superior. Brown, 520 U.S.

at 405 (1997). Municipalities may instead be liable under § 1983 when the execution

of a policy or custom “inflicts the injury” upon the plaintiff. Monell v. Dep’t of Sec.

Servs. of N.Y., 436 U.S. 658, 694 (1978). To state a cognizable Monell claim, a

plaintiff must first establish an underlying constitutional violation and then show the

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existence of a municipal custom or policy and a direct causal link between the

custom or policy and the violation alleged. Myers v. Okla. Cnty. Bd. of Cnty.

Commr’s, 151 F.3d 1313, 1316 (10th Cir. 1998). An official policy or custom may

be proven by the existence of a formally promulgated policy; a well-settled custom

or practice; a final decision by a municipal policymaker; failure to train or supervise;

or ratification by the final policymaker of the decisions of subordinates to whom

authority was delegated subject to the policymaker’s review and approval.

Brammer-Hoelter v. Twin Peaks Charter Acad., 602 F.3d 1175, 1189 (10th Cir.

2010). Griffith must establish causation by showing that “the municipality was the

‘moving force’ behind the injury alleged.’” Schneider, 717 F.3d at 770 (citations

omitted). “Where a plaintiff claims that the municipality has not directly inflicted an

injury, but nonetheless has caused an employee to do so, rigorous standards of

culpability and causation must be applied to ensure that the municipality is not held

liable solely for the actions of its employees.” Brown, 520 U.S. at 405.

      Neither Griffith’s Complaint nor her briefing before this Court clearly

articulates a theory of municipal liability. See A. 28 ¶ 4; A. 29-30 ¶ 14; A. 52 ¶ 135;

A. 53 ¶ 145; A. 55 ¶ 160; A. 56-57 ¶¶ 168, 170-72; A. 77 ¶ 312. For instance, the

Complaint refers to formal policies but fails to identify any specific EPSO policy

that caused the alleged constitutional violations. Griffith thus cannot succeed under

this theory of municipal liability. See Carney v. City & Cnty. of Denver, 534 F.3d


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1269, 1274 (10th Cir. 2008) (plaintiff must turn to other theories of municipal

liability where she fails to identify a formal policy).

      Likewise, the Complaint offers conclusory allegations about an informal

custom. While municipal liability may be based “on an informal custom so long as

this custom amounts to a widespread practice that, although not authorized by

written laws or express municipal policy, is so permanent and well settled as to

constitute a custom or usage within the force of law,” Brammer-Hoelter, 602 F.3d at

1189, it generally requires a showing of “evidence suggesting that similarly situated

individuals were mistreated by the municipality in a similar way.” Carney, 534 F.3d

at 1274. The Complaint does not identify any similarly situated individuals that were

mistreated in a similar way, which “seriously undermines [Plaintiff’s] claim.” Id.

(quoting Randle v. City of Aurora, 69 F.3d 441, 447 (10th Cir. 1995)).

      The Complaint does not explicitly assert municipal liability under a failure to

train or supervise theory. But even if it did, such a theory would fail due to a lack of

precise, plausible allegations. “A municipality’s culpability for a deprivation of

rights is at its most tenuous where a claim turns on a failure to train.” Connick v.

Thompson, 563 U.S. 51, 61 (2011). Thus, to establish a failure to train or supervise

claim, a plaintiff must show that the alleged failure “amounts to deliberate

indifference to the rights of the persons with whom the police come into contact.”

City of Canton v. Harris, 489 U.S. 378, 388 (1989). In other words, a “plaintiff must


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prove the need for more or different training is so obvious, and the inadequacy so

likely to result in the violation of constitutional rights, that the policymakers of the

[municipality] can be reasonably said to have been indifferent to the need for

additional training.” Jenkins v. Wood, 81 F.3d 988, 994 (10th Cir. 1996) (internal

citations omitted).    Deliberate indifference in this context ordinarily requires

showing a pattern of similar constitutional violations by untrained employees. See

Brown, 520 U.S. at 407-08.

      The Complaint does not identify any similarly situated individuals who were

mistreated in a similar way, as explained above. Griffith may, in turn, argue that her

allegations satisfy the “narrow range of circumstances” in which a single incident

may be sufficient to show deliberate indifference. Connick, 536 U.S. at 64 (2011).

If such an argument were made, it should fail because numerous courts have found

that a municipal entity cannot be deliberately indifferent in the context of a failure

to train or supervise where the right asserted is not clearly established, such as in this

case. See Arrington-Bey v. City of Bedford Heights, 858 F.3d 988, 994-96 (6th Cir.

2017) (“But a municipal policymaker cannot exhibit fault rising to the level of

deliberate indifference to a constitutional right when that right has not yet been

clearly established.”) (internal citations and quotations omitted); Bustillos v. El Paso

Cnty. Hosp. Dist., 891 F.3d 214, 222 (5th Cir. 2018); Nicholas v. Wany Cnty., Mich.,

822 F. App’x 445, 451-52 (6th Cir. 2020) (unpublished); Townes v. City of New York,


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176 F.3d 138, 143-44 (2d Cir. 1999); Szabla v. City of Brooklyn Park, 486 F.3d 385,

393 (8th Cir. 2007); Moya v. City of Clovis, No. 18-494-GBW-KRS, 2019 WL

6255217, at *10 (D.N.M. Nov. 22, 2019); see also Montoya v. City & Cnty. of

Denver, No. 16-cv-01457-JLK, 2021 WL 8087380, at *2 n.3 (D. Colo. July 27,

2021) (noting that the issue of whether a municipal entity can be deliberately

indifferent to a right that is not clearly established was left open by Contreras ex rel.

A.L. v. Dona Ana Cnty. Comm’rs, 965 F.3d 114, 1124 (10th Cir. 2020) (Carson, J.

concurring)).

      The Complaint also alludes to municipal liability by virtue of a final decision

by a policymaker. In this context, “it is not enough for a § 1983 plaintiff merely to

identify conduct properly attributable to the municipality. The plaintiff must also

demonstrate that, through its deliberate conduct, the municipality was the ‘moving

force’ behind the injury alleged.” Brown, 520 U.S. at 404 (emphasis in original). In

other words, Griffith must show that a final policymaker’s decision directly deprived

her of a constitutional right or was made with deliberate indifference. Id. at 404-08.

      Because the Complaint does not plausibly allege that Elder’s decisions

pertained directly to Griffith, she must show that his decisions were made with

deliberate indifference. See id. at 404-07. But in situations such as this, where the

existence of the alleged right is unclear, courts have found that policymakers cannot

act with the requisite degree of deliberate indifference. See Moya, 2019 WL


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6255217, at *10 (“But a municipal policymaker cannot exhibit fault rising to the

level of deliberate indifference to a constitutional right when that right has not yet

been clearly established.”) (emphasis in original, quoting Arrington-Bey, 858 F.3d

at 994); see also Szbala v. City of Brooklyn Park, 486 F.3d 385, 292 (8th Cir. 2007).

      Absent an articulable theory of municipal liability, the Complaint fails to

satisfy the “rigorous standards…of causation.” Brown, 520 U.S. at 405. Instead, the

Complaint seemingly relies on a hybrid theory of municipal liability, alleging

elements of various types of customs or policies but failing to fully develop any. This

Court has rejected such an approach because it “would be at odds with the Court’s

conservative, restrictive approach regarding the individual theories of liability.”

Cacioppo v. Town of Vail, Colo., 528 F. App’x 929, 934 (10th Cir. 2013)

(unpublished). The Court thus has additional grounds beyond the one identified by

the district court for dismissing Griffith’s municipal liability claim.

                                   CONCLUSION

      The district court properly dismissed Griffith’s claims. For the reasons set

forth above, this Court should affirm the district court’s Order.

      Dated:        October 20, 2023




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              STATEMENT REGARDING ORAL ARGUMENT
      The El Paso County Defendants do not request oral argument because Griffith

is barred from seeking appellate review by the firm waiver rule.




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I hereby certify that with respect to the foregoing:
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 20, 2023, I electronically filed the foregoing

document through the Court’s electronic filing system, and that it has been served

on all counsel of record through the court’s electronic filing system.

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